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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                             Chapter 11
THE GREAT ATLANTIC & PACIFIC TEA
COMPANY, INC., et al.,1                                      Case No. 15-23007 (RDD)

                          Debtors.                           (Jointly Administered)


THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS on behalf of the                         Adv. Pro. No. 17-08263 (RDD)
bankruptcy estate of THE GREAT
ATLANTIC & PACIFIC TEA COMPANY,                              Hearing Date: December 14, 2017, 10:00 a.m. ET
INC., et al.,
                                                             Objection Deadline: October 20, 2017, 5:00 p.m. ET
                          Plaintiff,

v.

MANHATTAN BEER DISTRIBUTORS,
INC.,

                          Defendant.2

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: 2008 Broadway, Inc. (0986); The Great Atlantic & Pacific Tea Company. Inc. (0974); A&P
Live Better, LLC (0799); A&P Real Property, LLC (0973); APW Supermarket Corporation (7132); APW
Supermarkets, Inc. (9509); Borman's, Inc. (9761); Delaware County Dairies, Inc. (7090); Food Basics, Inc. (1210);
Kaik Save Inc. (3636); McLean Avenue Plaza Corp. (5227); Montvale Holdings. Inc. (6664); Montvale-Para
Holdings. Inc. (2947); Onpoint, Inc. (6589); Pathmark Stores, Inc. (9612); Plainbridge TLC (5965); Shopwell, Inc.
(0301): Super Fresh Food Markets, Inc. (2491); The Old Wine Emporium of Westport, Inc. (0724); Tradewell Foods
of Conn., Inc. (5718); and Waldbaum, Inc. (8599).
2
  Manhattan Beer Distributors, Inc., the Defendant named in the Committee’s adversary complaint, is a member of
Manhattan Beer Distributors LLC, a New York limited liability company. Manhattan Beer Distributors LLC, rather
than Manhattan Beer Distributors, Inc., is a wholesale distributor of beer and other beverage products in New York
State that was the supplier of the Debtors and Debtors-in-Possession while they conducted business.

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            DEFENDANT’S MOTION TO DISMISS WITH PREJUDICE OFFICIAL
             COMMITTEE OF UNSECURED CREDITORS’ COMPLAINT FOR
             AVOIDANCE AND RECOVERY OF PREFERENTIAL TRANSFERS

       Pursuant to Fed. R. Civ. P. 12(b)(6) and Fed. R. Bank. P. 7012(b), defendant Manhattan

Beer Distributors, Inc. (the “Defendant”) hereby respectfully moves this Court for entry of an

Order dismissing with prejudice plaintiff The Official Committee of Unsecured Creditors’

Complaint for Avoidance and Recovery of Preferential Transfers Pursuant to 11 U.S.C. §§ 547

& 550. In support of this motion to dismiss, Defendant refers to and incorporates by reference

its Memorandum of Law, which is filed concurrently herewith.

       Defendant has made no prior request to this Court or to any other court for the relief

requested by this motion to dismiss.

       WHEREFORE, the Defendant respectfully requests that this Court enter an Order

substantially in the form annexed hereto as Exhibit A, dismissing the Complaint with prejudice.

Defendant also requests such other and further relief as this Court deems just and proper.

Dated: September 25, 2017

                                                     TANNENBAUM HELPERN SYRACUSE
                                                     & HIRSCHTRITT LLP

                                                     /s/ Michael J. Riela_________________
                                                     Michael J. Riela
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                                    EXHIBIT A

                                  Proposed Order




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                     Chapter 11
THE GREAT ATLANTIC & PACIFIC TEA
COMPANY, INC., et al.,                               Case No. 15-23007 (RDD)

                       Debtors.                      (Jointly Administered)


THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS on behalf of the                 Adv. Proc. No. 17-08263 (RDD)
bankruptcy estate of THE GREAT
ATLANTIC & PACIFIC TEA COMPANY,
INC., et al.,

                       Plaintiff,

v.

MANHATTAN BEER DISTRIBUTORS,
INC.,

                       Defendant.


             [PROPOSED] ORDER DISMISSING WITH PREJUDICE
     OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ COMPLAINT FOR
         AVOIDANCE AND RECOVERY OF PREFERENTIAL TRANSFERS

         Upon consideration of the motion (the “Motion”) filed by defendant Manhattan Beer

Distributors, Inc. (“Defendant”) to dismiss with prejudice the complaint (the “Complaint”) filed

by plaintiff The Official Committee of Unsecured Creditors; and the Court having considered all

papers filed in support of or in opposition to the Motion; and for good cause appearing; IT IS

HEREBY ORDERED that:


         1.     The Motion is granted.

         2.     The Complaint is hereby dismissed in its entirety with prejudice.




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         3.      This Court retains jurisdiction with respect to all matters arising out of or relating

to this Order.

Dated:


                                                    HONORABLE ROBERT D. DRAIN
                                                    UNITED STATES BANKRUPTCY JUDGE




                                                   2
